Case 9:08-cV-81443-DTKH Document 45 Entered on FLSD Docket 03/17/2010 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 08-81443-CIV-HURLEY/HOPKINS
SCS ALEXANDRE ET CIE,
Plaintiff,
vs.
LANA MARKS LTI)., INC.,

Defendant.

ORDER OF CLOSE OUT

THIS CAUSE is before the court upon the parties’ joint stipulation for dismissal With
prejudice [DE # 43] filed pursuant to Fed. R. Civ. P. 41 (a)(l )(A)(ii) on March 15, 2010. There being
nothing further for the court to resolve, it is hereby ORDERED and ADJUDGED that:

l. The joint stipulation [DE # 43] is APPROVED. All claims in this matter are

DISMISSED WITH PREJUDICE.

2. Any pending motions not otherwise ruled upon are DENIED AS MOOT.

3. The Clerk of the Court shall enter the case as CLOSED.

DONE and SIGNED in Chambers at West Palm Beach, Florida, this legg day of March,

2010.

    

Daniel T. K. Hurley
United States Distri
Copies provided to counsel of record

For updated court information, visit unofficial Web site
at http://www.'}udgehurley.com

